                Case 20-17186-AJC         Doc 23    Filed 08/10/20     Page 1 of 3




                        UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

In Re:                                                 Bk No.: 20-17186-AJC

JOAQUINA RAPOSO,                                       Chapter 13
            Debtor                              /

              RESPONSE TO DEBTOR’S OBJECTION TO CLAIM NUMBER 7

         Caliber Home Loans, Inc. (“Creditor”), through its undersigned counsel, files this

Response to Debtor(s)’ Objection to Claim (Doc 20), and in support thereof avers as follows:

         1.     The Debtor(s) filed for Chapter 13 relief of June 30, 2020.

         2.     Creditor holds a Mortgage securing the property located at 2820 NW 174TH ST,

MIAMI GARDENS, FL 33056-4035.

         3.     Creditor filed Proof of Claim number 7 (“the Claim”) on July 13, 2020. The

Claim was amended on July 31, 2020.

         4.     The Debtor(s) filed an Objection to the Claim (“the Objection”) on August 6,

2020. The basis for the Objection is the Debtor is making direct payments to the Creditor. The

Debtor is seeking an Order allowing the Claim without distribution from the Chapter 13 Trustee.

         5.     Creditor has reviewed its records and maintains that the Claim was filed correctly.

         6.     The Objection should be overruled due to the fact that Creditor’s Claim is

properly filed and represents the secured claim on the Debtor(s)’ property as it stood at the time

the instant Bankruptcy Petition was filed.

         7.     Creditor does not oppose entry of an order setting forth that the claim is allowed

but shall not receive any distribution under the Chapter 13 Plan.

         WHEREFORE, Respondent Caliber Home Loans, Inc. respectfully requests the Court

overrule the Debtor(s)’ Objection to Claim Number 7 and for such other relief as is just and



PH # 104248
                 Case 20-17186-AJC       Doc 23     Filed 08/10/20     Page 2 of 3




proper.

          I HEREBY CERTIFY, that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).


Date: August 10, 2020                        /s/ Stefan Beuge, Esquire
                                             Stefan Beuge, Esq., Florida Bar No. 68234
                                             Phelan Hallinan Diamond & Jones, PLLC
                                             2001 NW 64th Street
                                             Suite 100
                                             Ft. Lauderdale, FL 33309
                                             Tel: 954-462-7000 Ext. 56588
                                             Fax: 954-462-7001
                                             Email: stefan.beuge@phelanhallinan.com
                                             FLSD.bankruptcy@phelanhallinan.com




PH # 104248
               Case 20-17186-AJC         Doc 23     Filed 08/10/20     Page 3 of 3




                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing, and any

applicable exhibits attached thereto, has been served electronically, or routed for service by U.S.

Mail, to the following:

JOAQUINA RAPOSO
2820 NW 174TH STREET
MIAMI GARDENS, FL 33056-4035

ROBERT SANCHEZ, ESQ.
355 W 49 ST.
HIALEAH, FL 33012

NANCY K. NEIDICH, (TRUSTEE)
WWW.CH13MIAMI.COM
POB 279806
MIRAMAR, FL 33027

UNITED STATES TRUSTEE (SERVED ELECTRONICALLY)
OFFICE OF THE UNITED STATES TRUSTEE
51 SW FIRST AVENUE, ROOM 1204
MIAMI, FL 33130

Date: August 10, 2020                         /s/ Stefan Beuge, Esquire
                                              Stefan Beuge, Esq., Florida Bar No. 68234
                                              Phelan Hallinan Diamond & Jones, PLLC
                                              2001 NW 64th Street
                                              Suite 100
                                              Ft. Lauderdale, FL 33309
                                              Tel: 954-462-7000 Ext. 56588
                                              Fax: 954-462-7001
                                              Email: stefan.beuge@phelanhallinan.com
                                              FLSD.bankruptcy@phelanhallinan.com




PH # 104248
